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EASTERN DISTRICT OF TENNESSEE

AT GREENEVILLE

ASHLEY MATTIO and )
JESSE MATTIO, )
+)
Plaintiffs, )

) Crvil Action No, 2:11-CV-232
vs. )
)
JOHN WALLACE, )
)
Defendant. )

PLAINTIFF’S MOTION IN LIMINE TO EXCLUDE FROM USE OR REFERENCE TO
AT TRIAL DEPOSITION EXCERPTS OF ASHLEY MATTIO

The plaintiffs request that page 17, lines 15 through 21 of Ashley Mattio’s deposition
taken on April 13, 2012 not be used or referenced at trial on the following grounds:

1. The defendant’s lawyer did not provide the medical record of Dr. Palmisano
(Exhibit 1) to the plaintiffs attorneys prior to the deposition of Ashley Mattio or Dr. Wallace.
{Exhibit 2 / Doc. 69)

2. As aresult of the medical record of Dr. Palmisano not being provided by the
defendant’s lawyer the plaintiffs were permitted to re-depose Dr. Wallace. (Exhibit 2 / Doc. 69)

3. When he deposed Mrs. Mattio on April 13, 2012, the defendant’s lawyer had the
medical record of Dr. Palmisano but ... the plaintiff's attorney’s did not. (Exhibit 2 / Doc. 69)

4. The medical record of Dr. Palmisano that was not provided to the plaintiffs
attorneys states:

“She has had some mild chronic low back pain...” (Exhibit 1)

 
 

 

 

5. The defendant’s lawyer interrupted Mrs. Mattio while she was answering the
question presented by the defendant’s lawyer. The, the defendant’s lawyer suggested in his own
words:

“«, what you’re saying is that you’ve never had any
._ history of chronic low-back pain?” (Exhibit 3)

6. How unusual for the defendant’s lawyer to suggest the same identical language
from the medical record that was not provided to the plaintiff's attorneys and to interrupt Mrs.
Mattio while she was providing a perfectly adequate response to the question asked by the —
defendant’s lawyer ... is this coincidence?

7. The plaintiffs submit it is highly unlikely that this was coincidence. Also, it would
be unfair for the defendant to benefit from his lawyer framing the evidence identically from the
same language in the medical record that only the defendant’s lawyer had.

8. The defendant’s lawyer received a response to questions he asked Mrs. Mattio
about back pain prior to the wreck without having to interrupt Mrs. Mattio and “put words in her
mouth” that only the defendant’s lawyer knew at that time were identical to the words in the
medical record. Accordingly, the defendant will not be prejudiced by excluding page 17, lines 15
through 21 of Mrs. Mattio’s deposition. (Exhibit 3)

9. In the event the Court disagrees that it would be unfair to permit the defendant’s
lawyer to use page 17, lines 15 through 21 of Ashley Mattio’s deposition at trial, the plaintiff's
request that they be permitted to present to the jury the circumstances of (1) the defendant’s
lawyer not providing the medical record to the plaintiff's attorneys and how the specific words

“chronic low back pain” came to be used by the defendant’s lawyer when deposing Mrs. Mattio,

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(2) how the defendant’s lawyer accused the plaintiff's attorneys and the plaintiff of not providing
the medical record to Dr. Wallace and (3) the order allowing the plaintiffs to re-depose Dr.
Wallace.

WHEREFORE, the plaintiffs request that page 17, lines 15 through 21 of Ashley
Mattio’s deposition be excluded from use or reference at trial, or alternatively that the plaintiffs
be permitted to present to the jury the circumstances of (1) the defendant’s lawyer not providing
the medical record to the plaintiff's attorneys and how the specific words “chronic low back
pain” came to be used by the defendant’s lawyer when deposing Mrs. Mattio, (2) how the
defendant’s lawyer accused the plaintiff's attorneys and the plaintiff of not providing the medical

record to Dr. Wallace and (3) the order allowing the plaintiffs to re-depose Dr. Wallace.

Respectfully submitted,

s/_ Larry V. Roberts

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CERTIFICATE OF SERVICE

I hereby certify that on October 11, 2012, a copy of the foregoing pleading was filed
electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt. All other parties will be served by
regular U.S. mail. Parties may access this filing through the Court’s electronic filing system.

s/_Larry V. Roberts

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